
Moncure, J.
delivered the opinion of the court:
The court is of opinion that the appellant’s bill makes out a good case for equitable relief, and entitled him to an injunction to prevent the widow and heirs of the intestate Thomas Williams from receiving the purchase money of his real estate, but not to prevent the collection' of the money under the order of the County court. The suit in that court was instituted before the appellant’s suit in the Circuit court ,• and the latter should not interfere with the former suit, except to prevent the payment of the money to the widow and heirs until the appellant’s claim can be adjudicated. It would perhaps have been more regular if the appellant, instead of bringing his suit in the Circuit court, had connected himself, by petition or bill, with the proceedings in the County court in ■which the fund had been realized. But the course-which he has pursued is free from serious objection,, and need not occasion any conflict of jurisdiction between the two courts; as the County court, instead’ of directing the money to be paid to the widow and heirs,, can direct it to be paid to such person as may be appointed to receive it by the Circuit court. Or if it be-more convenient to have both suits in the same court, that'object can be effected by a removal of one of them into the court in which the other is- pending. *98Code, ch. 174, p. 657. The court is therefore of opinion that the court below erred in dissolving the injunction in toto, without plea or answer, instead of dissolving it in part and overruling the motion as to the residue, according to the principles above indicated. It is therefore decreed and ordered, that so much of the order of the court below as is above declared to be erroneous, be reversed, and the residue thereof affirmed, with costs to the appellant against the appellees, who are heirs of the said Thomas Williams; and the cause is remanded for further proceedings.
Decree reversed.
